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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

SEAN M. DONAHUE,                      :

     Plaintiff                        : CIVIL ACTION NO. 3:14-1351

     v.                               :          (MANNION, D.J.)

CITY OF HAZELTON, et al.,             :

     Defendants                       :


                                  ORDER

     As set forth in the memorandum issued this same day, IT IS HEREBY

ORDERED THAT:

     (1)   Judge Mehalchick’s report and recommendation, (Doc. 105), is
           ADOPTED IN ITS ENTIRETY;
     (2)   the motion for summary judgment of defendants, (Doc. 80),
           regarding all of the claims against them raised in the plaintiff’s
           complaint, (Doc. 1), Counts I-IV, except for the plaintiff’s second
           4th Amendment excessive force claim in Count I (regarding the
           pointing of defendants’ guns at plaintiff after he was
           handcuffed), is GRANTED, and JUDGMENT is entered in favor
           of the defendants and against the plaintiff with respect to all of
           the stated claims;
     (3)   the motion for summary judgment of the defendants, (Doc. 80),
           regarding the plaintiff’s second 4th Amendment excessive force

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                   claim in Count I (regarding the pointing of defendants’ guns at
                   plaintiff after he was handcuffed), as against all of the individual
                   named defendants, as well as his municipal liability excessive
                   force claim against the City of Hazelton under Monell, is
                   DENIED, and this claim will proceed to trial;
          (4)      the John and Jane Doe defendants are dismissed from this case
                   sua sponte by the court pursuant to Fed.R.Civ.P. 21;
          (5)      the plaintiff’s motions to compel, (Docs. 72 & 75), and the
                   plaintiff’s motion for sanctions, (Doc. 90), are DENIED;
          (6)      the defendants’ objections, (Doc. 109), and the plaintiff’s
                   objections, (Doc. 111), to Judge Mehalchick’s report are
                   OVERRULED; and
          (7)      the plaintiff’s motion to exceed the page limitation with respect
                   to his reply brief, (Doc. 122), is GRANTED.




                                              s/ Malachy E. Mannion
                                              MALACHY E. MANNION
                                              United States District Judge


Dated: August 3, 2020
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